           Case 3:20-cv-01878-JR      Document 1   Filed 10/30/20     Page 1 of 12




Ashley A. Marton, OSB No. 171584
ashley@employmentlaw-nw.com
Rebecca Cambreleng, OSB No. 133209
rebecca@employmentlaw-nw.com
Craig A. Crispin, OSB No. 824852
crispin@employmentlaw-nw.com
CRISPIN MARTON CAMBRELENG
1834 SW 58th Avenue, Suite 200
Portland, Oregon 97221
Telephone: 503-293-5770
      Of Attorneys for Plaintiff




                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON
                                       Portland Division



MARIE TYVOLL,                                      Case No.

               Plaintiff,

      v.                                                        COMPLAINT
                                                    (Violations of Civil Rights 42 U.S.C. §
CITY OF PORTLAND, a municipal                      1983; Intentional Infliction of Emotional
corporation; JUSTIN D. DAMERVILLE, an                   Distress; Battery and Assault;
individual; and JOHN DOE, unknown                               Attorney Fees)
individual,

               Defendants.                             JURY TRIAL REQUESTED




Page 1 – COMPLAINT                                            CRISPIN MARTON CAMBRELENG
                                                               1834 SW 58th Avenue, Suite 200
                                                                       Portland, Oregon 97221
                                                                     Telephone: 503-293-5770
          Case 3:20-cv-01878-JR         Document 1       Filed 10/30/20      Page 2 of 12




                                        NATURE OF ACTION

                                                  1.

       This is a Civil Rights and State Tort action brought by Plaintiff Marie Tyvoll (Tyvoll)

pursuant to 42 U.S.C. § 1983 and ORS 30.265. On September 28, 2020, Tyvoll was in Kenton

Park where demonstrators were peacefully gathering in support of the Black Lives Matter

movement. Tyvoll is a nonviolent protester, who manages a medical tent that regularly provides

aid to other protestors, medics, press, and houseless individuals by offering free first aid supplies,

personal protective equipment (PPE), food, and water. That evening, while she was preparing her

supplies in the staging area, Tyvoll filmed multiple Portland police officers surround a

nonviolent protestor carrying a sign that read, “Vote Register Here” and forcibly attempt to

remove his sign from his person. Tyvoll was lawfully filming the interaction with her cell phone

when without provocation and for no legal reason, Portland Police Officers Justin D. Damerville

and John Doe tried to confiscate her phone and used unlawful, excessive force against Tyvoll by

violently pushing her backwards to prevent her filming, and Damerville spraying her at close

range with aerosol pepper spray. The entire incident was video recorded by multiple protesters

and press. Tyvoll suffered physical and emotional injuries.

                                                   2.

       The acts and omissions of defendants violated plaintiff’s rights under the First and Fourth

Amendments to the United States Constitution.

                                                  3.

       Plaintiff also brings claims for violation of state law for Assault and Battery and

Intentional Infliction of Emotional Distress, all pursuant to the court’s supplemental jurisdiction.


PAGE 2 –COMPLAINT                                                            CRISPIN MARTON CAMBRELENG
                                                                               1845 SW 58th Ave,Suite 200
                                                                                    Portland, Oregon 97221
                                                                                            (503) 293-5770
          Case 3:20-cv-01878-JR         Document 1        Filed 10/30/20     Page 3 of 12




                                                   4.

       Plaintiff seeks to recover her economic damages, noneconomic damages, attorney fees

   and litigation expenses/costs from defendants. Plaintiff also seeks an assessment of punitive

   damages against the individual defendants under federal law.

                                     JURISDICTION AND VENUE

                                                   5.

       This court has jurisdiction over the subject matter of this complaint pursuant to 28 U.S.C.

§ 1331, 1343, and 1397.

                                                   6.

       The court has jurisdiction over plaintiff’s state law claims set forth in this complaint

pursuant to its supplemental jurisdiction to hear related state law claims under 28 U.S.C. §

1367(a). Both the federal and state claims alleged herein arose from a common nucleus of

operative fact, the state action is so related to the federal claim that they form part of the same

case or controversy, and the actions would ordinarily be expected to be tried in one judicial

proceeding.

                                                   7.

       The events described herein are alleged to have been committed in the District of Oregon,

Portland Division.

                                              PARTIES

                                                   8.

       Plaintiff MARIE TYVOLL is an individual resident and citizen of the State of Oregon,

County of Multnomah.


PAGE 3 –COMPLAINT                                                            CRISPIN MARTON CAMBRELENG
                                                                               1845 SW 58th Ave,Suite 200
                                                                                    Portland, Oregon 97221
                                                                                            (503) 293-5770
          Case 3:20-cv-01878-JR          Document 1        Filed 10/30/20      Page 4 of 12




                                                    9.

        Defendant CITY OF PORTLAND is a municipal corporation in the State of Oregon. As

a local governmental entity, the City of Portland is a person for purposes of 42 U.S.C. § 1983. At

all material times, the City of Portland employed defendants Justin Damerville and John Doe. At

all material times, defendants Damerville and John Doe were acting pursuant to the City of

Portland’s laws, customs, and/or policies. Pursuant to ORS 30.285(1), the city must indemnify its

officers for their tortious acts and is therefore liable for the purposes of this action by plaintiff.

On information and belief, the decision to indiscriminately use force against plaintiff was made

at a sufficiently high level as to be a policy decision of the City of Portland.

                                                    10.

        Defendant JUSTIN D. DAMERVILLE is a Portland Police Officer who at all material

times was employed by defendant City of Portland and was acting under color of state law and

within the course and scope of his employment.

                                                    11.

        Defendant JOHN DOE is an unidentified member of the Portland Police Bureau, who

was involved along with Damerville in the incident forming the basis of plaintiff’s claims herein.

He was working within the course and scope of his employment and acted as alleged herein

under color of state law. Plaintiff does not know John Doe by his true name and therefore sues

him under a fictitious one.

                                      GENERAL ALLEGATIONS

                                                    12.

    The murder of George Floyd at the hands of a Minneapolis Police Officer engendered

widespread demonstrations in support of the Black Lives Matter (BLM) movement and against
PAGE 4 –COMPLAINT                                                              CRISPIN MARTON CAMBRELENG
                                                                                 1845 SW 58th Ave,Suite 200
                                                                                      Portland, Oregon 97221
                                                                                              (503) 293-5770
          Case 3:20-cv-01878-JR         Document 1         Filed 10/30/20   Page 5 of 12




police violence disproportionately directed at Black, Indigenous, and community members of

Color. While this is a national movement, it is extremely relevant in Portland, as data show

Portland Police Bureau’s (PPB) use of force, traffic stops, searches, seizures and arrests are

disproportionately directed toward Black and other community members of color.

                                                     13.

   In response to the protests that occurred, and continue to occur, in Portland, Oregon, PPB has

employed increasingly heavy-handed and brutal crowd control tactics, including acts that serve

no legitimate policing purpose and violate the Constitutional rights of persons simply exercising

their right to free speech and nonviolent protest.

                                                     14.

   On the evening of September 28, 2020, around 9:00 pm, an unknown number of PPB police

officers, comprised of mostly Rapid Response Team members in full tactical gear, entered

Kenton Park where protesters were gathering in preparation for a march in support of the BLM

movement. At that time, Tyvoll was staging her medical tent and handing out supplies near the

entrance to the park. Tyvoll, who is a regular presence at the Portland protests, was also speaking

with other protestors when officers stormed into the park. She was dressed in jeans, a tee-shirt,

and a zipper sweater. The only protective gear on her person was a COVID-19 mask and her

reading glasses.

                                                     15.

   At approximately 9:14 pm, Tyvoll began filming PPB police officers chasing protestors

across the park. Tyvoll noticed a protestor holding a “Vote Register Here” sign was surrounded

by Portland police officers who were trying to forcibly remove the protestor’s sign. She, along

with many other protestors, filmed the interaction. The protesters, including Tyvoll, were in a
PAGE 5 –COMPLAINT                                                           CRISPIN MARTON CAMBRELENG
                                                                              1845 SW 58th Ave,Suite 200
                                                                                   Portland, Oregon 97221
                                                                                           (503) 293-5770
          Case 3:20-cv-01878-JR         Document 1     Filed 10/30/20     Page 6 of 12




public place doing nothing wrong. No riot or illegal gathering of any kind had been declared by

the police, nor could it legally have been.

                                                 16.

       As Tyvoll positioned herself to film the interaction on her mobile phone, she was

approached by defendants Damerville and John Doe, who were dressed in full tactical gear.

Damerville had his helmet open and was not wearing a mask. His face, including his mustache

and goatee, was readily visible. Defendant John Doe was also wearing tactical gear but had his

helmet closed. Damerville and John Doe yelled at the group of protesters to step back.

Damerville and Doe proceeded to shove Tyvoll away from the scene, while yelling “back up,”

and swatted at her phone. As Tyvoll moved back she continued to film the interaction, which

enraged Damerville. At least three officers, including Damerville and Doe, surrounded Tyvoll

and tried to isolate her from other protestors. Damerville swatted at Tyvoll’s phone a second time

and John Doe tried to grab Tyvoll’s phone. Tyvoll continued to film. Damerville, who was

carrying a red and white aerosol spray can containing a substance believed to be tactical pepper

spray, then sprayed Tyvoll’s face, head, and eyes at an extremely close range for roughly one to

three seconds. Defendant Doe continued to point a flashlight directly into Tyvoll’s face, while

she continued to film the assault on the protestor carrying the “Vote Register Here” sign. She

was treated on the scene for her injuries.

                                                 17.

       The entire incident was video recorded by Tyvoll, a number of onlooking fellow

demonstrators, and members of the press.

                                                 18.

       On information and belief, the individual police officers were carrying out policy
PAGE 6 –COMPLAINT                                                         CRISPIN MARTON CAMBRELENG
                                                                            1845 SW 58th Ave,Suite 200
                                                                                 Portland, Oregon 97221
                                                                                         (503) 293-5770
          Case 3:20-cv-01878-JR         Document 1       Filed 10/30/20      Page 7 of 12




decisions and orders from PPB's chain of command, policies and procedures made and

undertaken in deliberate violation of Tyvoll’s constitutional rights.



                                     DAMAGES ALLEGATIONS

                                                  19.

       As a result of the actions alleged herein, plaintiff has and will continue to suffer

economic damages. Plaintiff is entitled to recover from defendants such lost wages of

employment and other economic losses, including reasonable follow up medical care, incurred

as a result of defendants’ actions, in such amount as may be established at trial.

                                                  20.

       As a further result of defendants’ actions alleged herein, plaintiff has suffered and is

entitled to recover for her noneconomic damages for pain and suffering, humiliation,

embarrassment, and reaction to the excessive force, in an amount found to be appropriate by a

jury based on the evidence presented at trial.

                                                  21.

       Plaintiff is entitled to an assessment of punitive damages against Damerville and Doe in

amounts to be determined at trial.

                                                  22.

       Plaintiff is entitled to recover her reasonable attorney’s fees, and other litigation costs of

the action pursuant to 42 U.S.C. § 1988(b).

                                FIRST CLAIM FOR RELIEF
             (42 U.S.C. § 1983 – 4th Amendment Violation - Individual Liability)



PAGE 7 –COMPLAINT                                                            CRISPIN MARTON CAMBRELENG
                                                                               1845 SW 58th Ave,Suite 200
                                                                                    Portland, Oregon 97221
                                                                                            (503) 293-5770
            Case 3:20-cv-01878-JR          Document 1       Filed 10/30/20      Page 8 of 12




                                                      23.

          Plaintiff incorporates paragraphs 1 through 22 as though fully set forth herein.

                                                      24.

          It is clearly established law that an officer may not use force that, in light of the

circumstances and as perceivable by a reasonable, objective officer, is excessive and

unnecessary.

                                                      25.

          In taking the actions described above, including but not limited to Damerville and John

Doe battering Tyvoll while she was lawfully filming an incident, by shoving Tyvoll’s body to

prevent her from filming, and by spraying Tyvoll with a pepper spray aerosol at extremely close

range to prevent her from filming the protest, Damerville and John Doe intentionally violated

Tyvoll’s right to be free from excessive force guaranteed by the Fourth Amendment of the

Constitution.

                                     SECOND CLAIM FOR RELIEF
              (42 U.S.C. § 1983 - First Amendment Violation - Free Speech and Assembly –
                                        Individual Liability)

                                                      26.

          Plaintiff incorporates paragraphs 1 through 22, 24, and 25, as though fully set forth

herein.

                                                      27.

          As described herein above, Damerville and John Doe violated Tyvoll’s rights to free

speech and peaceful protest. On information and belief, the conduct of the individual officers

was in conformance with policy and orders dictated that evening by the Portland police

department and subsequently ratified by their superiors in violation of the First Amendment to
PAGE 8 –COMPLAINT                                                               CRISPIN MARTON CAMBRELENG
                                                                                  1845 SW 58th Ave,Suite 200
                                                                                       Portland, Oregon 97221
                                                                                               (503) 293-5770
            Case 3:20-cv-01878-JR      Document 1       Filed 10/30/20     Page 9 of 12




the United States Constitution

                                                 28.

       Defendant City of Portland, its Portland Police Bureau, its officials, and the individual

defendants were deliberately indifferent to Tyvoll’s rights, and their actions caused or

contributed to the cause of her injuries and the violation of the First Amendment to the United

States Constitution.

                                                 29.

       The actions of Defendants Damerville and John Doe were malicious, deliberate,

intentional, and embarked upon with the knowledge of, or conscious disregard of, the harm that

would be inflicted upon Tyvoll. As a result of such intentional conduct, Tyvoll is entitled to an

assessment of punitive damages against Defendants Damerville and John Doe, in their individual

capacities, in an amount sufficient to punish them and to deter them and others from like

conduct.

                                      THIRD CLAIM FOR RELIEF
            (42 U.S.C. § 1983 - First and Fourth Amendments Violations – Monell Liability)

                                                 30.

       Plaintiff incorporates paragraphs 1 through 29 as though fully set forth herein.

                                                 31.

       The individual defendants’ conduct is illustrative of a patterns and practice of PPB

officers violating the First and Fourth Amendment rights of individuals engaging in protests in

Portland.

                                                 32.

       Defendant City of Portland does not have adequate supervisory review of incidents where

PAGE 9 –COMPLAINT                                                          CRISPIN MARTON CAMBRELENG
                                                                             1845 SW 58th Ave,Suite 200
                                                                                  Portland, Oregon 97221
                                                                                          (503) 293-5770
          Case 3:20-cv-01878-JR        Document 1       Filed 10/30/20     Page 10 of 12




officers use force that would correct patterns of excessive force in a timely fashion, and rarely

categorizes excessive force as out-of-policy even when the force is clearly excessive. The

individual defendants have received no training or discipline for violating the United States

Constitution. Defendant City of Portland has effectively condoned this practice by repeatedly

failing to correct it.

                                                  33.

        By maintaining a pattern and practice of violating protesters’ First and Fourth

Amendment rights, Defendant City of Portland has injured Tyvoll as alleged herein.

                               FOURTH CLAIM FOR RELIEF
                          (Intentional Infliction of Emotional Distress)

                                                  34.

        Plaintiffs incorporates paragraphs 1 through 20 as though set forth fully herein.

                                                  35.

        Defendant Damerville’s actions in interfering with and attempting to prevent Tyvoll

from lawfully filming a protest, swatting at her phone on multiple occasions, shoving her person

in an effort to prevent her from filming, and spraying her with an aerosol pepper spray at

extremely close range were committed deliberately and intentionally to cause Plaintiff severe

emotional distress or were undertaken with reckless disregard that Plaintiff would suffer severe

emotional distress.

                                                  36.

        Defendant Damerville knew, or should have known, that Plaintiff would suffer severe

emotional distress, mental anguish, fear, humiliation, and public embarrassment and that such

distress was substantially certain to result from his conduct.

PAGE 10 –COMPLAINT                                                          CRISPIN MARTON CAMBRELENG
                                                                              1845 SW 58th Ave,Suite 200
                                                                                   Portland, Oregon 97221
                                                                                           (503) 293-5770
           Case 3:20-cv-01878-JR         Document 1       Filed 10/30/20      Page 11 of 12




                                                   37.

          As a result of Damerville’s actions, Tyvoll suffered severe emotional distress that was

substantial and enduring.

                                                    38.

          Damerville's actions were an extraordinary transgression of the bounds of socially

tolerable behavior.

                                   FIFTH CLAIM FOR RELIEF
                                       (Assault and Battery)
                                                39.

          Plaintiff incorporates paragraphs 1 through 20 as though set forth fully herein.

                                                  40.

          Through the actions of its agents, Damerville and John Doe, Defendant City of Portland

is vicariously liable for the actions of the individually named defendants.

                                                  41.

          Defendant Damerville intended to cause harmful or offensive contact with Tyvoll.

                                                  42.

          Defendant Damerville’s actions directly caused a harmful or offensive contact with

Tyvoll.

                                                  43.

          As a direct and proximate result of Defendants’ unlawful acts, Plaintiff has suffered

physical and emotional injury.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for relief as follows:

          1.     Assume jurisdiction over Plaintiff’s claims,
PAGE 11 –COMPLAINT                                                            CRISPIN MARTON CAMBRELENG
                                                                                1845 SW 58th Ave,Suite 200
                                                                                     Portland, Oregon 97221
                                                                                             (503) 293-5770
       Case 3:20-cv-01878-JR          Document 1     Filed 10/30/20     Page 12 of 12




      2.     Award economic damages against the defendants as alleged herein,

      3.     Award noneconomic damages against the defendants as alleged herein,

      4.     Assess punitive damages against the individual defendants Damerville and John

             Doe as alleged herein,

      5.     Award plaintiff her reasonable attorney fees and costs pursuant to 42 U.S.C. §

             1988, and

      6.     Award such other relief in favor of plaintiff the Court deems just and equitable.

      Dated this 30th day of October, 2020.


                                                   s/ Ashley A. Marton
                                              Ashley A. Marton, OSB No. 171584
                                              Rebecca Cambreleng, OSB No. 133209
                                              Craig A. Crispin, OSB No. 824852
                                              Of Attorneys for Plaintiff




PAGE 12 –COMPLAINT                                                       CRISPIN MARTON CAMBRELENG
                                                                           1845 SW 58th Ave,Suite 200
                                                                                Portland, Oregon 97221
                                                                                        (503) 293-5770
